DocuSign Envelope ID: D3D46DB4-6839-48F6-A4E6-FAB4AD8BE53D
         Case 1:23-cv-00426-JMS-WRP                Document 29       Filed 11/29/23   Page 1 of 4 PageID.139



            COX FRICKE LLP
            A LIMITED LIABILITY LAW PARTNERSHIP LLP
            JOACHIM P. COX                               7520-0
               jcox@cfhawaii.com
            ABIGAIL M. HOLDEN                            8793-0
               aholden@cfhawaii.com
            800 Bethel Street, Suite 600
            Honolulu, Hawai‘i 96813
            Telephone: (808) 585-9440
            Facsimile: (808) 275-3276

            WINSTON & STRAWN LLP
            JENNIFER A. GOLINVEAUX
               JGolinveaux@winston.com
            THOMAS J. KEARNEY
               TKearney@winston.com
            101 California Street, 35th Floor
            San Francisco, CA 94111
            Telephone: (415) 591-1000

            Attorneys for Non-Party
            COXCOM LLC
                                  IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF HAWAI‘I
            IN RE:                                                CASE NO.: 1:23-cv-00426-JMS-WRP

            SUBPOENA OF INTERNET                                  DECLARATION OF AMBER HALL IN
            SUBSCRIBERS OF COX                                    RESPONSE TO ORDER REQUESTING
            COMMUNICATIONS, LLC AND                               SUPPLEMENTAL EVIDENCE (DKT.
            COXCOM LLC,                                           NO 26); CERTIFICATE OF SERVICE

                                                                  Honorable J. Michael Seabright
DocuSign Envelope ID: D3D46DB4-6839-48F6-A4E6-FAB4AD8BE53D
         Case 1:23-cv-00426-JMS-WRP                Document 29   Filed 11/29/23     Page 2 of 4 PageID.140



                                     DECLARATION IN RESPONSE TO ORDER
                                     REQUESTING SUPPLEMENTAL EVIDENCE

                    I, Amber Hall, submit this declaration pursuant to 28 U.S.C. § 1746 in

            response to the Court’s November 8, 2023 Order Requesting Supplemental

            Evidence, Docket No. 26 in the above-titled case.

                    1.       I have been employed by CCI Corporate Services, LLC, a wholly

            owned subsidiary of Cox Communications, Inc. (“Cox Communications”)

            continuously since August 2021, and am currently its Chief Compliance and Privacy

            Officer. I have personal knowledge of the facts in this declaration.

                    2.       CoxCom LLC (“CoxCom”) is a wholly owned subsidiary of Cox

            Communications.1 CoxCom and Cox Communications (jointly, “Cox”) provide

            cable and Internet service to consumers and businesses across the United States.

                    3.       In my role as Chief Compliance and Privacy Officer, I am primarily

            responsible for various compliance advice and activities, including those related to

            processing of copyright notices. In connection with this role, I am responsible for

            understanding how Cox’s Internet service product operates in connection with the

            below described functionality.




                    1
                     Petitioners’ Subpoena was directed to CoxCom LLC and “Cox Communications, LLC.”
            As CoxCom explained previously, Cox Communications, LLC is not an entity within the Cox
            family and appears to have been erroneously named in this matter. See Dkt. No. 18. Petitioners do
            not dispute that Cox Communications, LLC was named in error. See Dkt. No. 24 (“Petitioners’
            Reply in Support of Objections”).

                                                             2
DocuSign Envelope ID: D3D46DB4-6839-48F6-A4E6-FAB4AD8BE53D
         Case 1:23-cv-00426-JMS-WRP                Document 29   Filed 11/29/23   Page 3 of 4 PageID.141



                    4.       Cox, as an Internet service provider, is engaged in transmitting, routing,

            or providing connections for, material through its system and network only under

            the following conditions, and does not engage in any intermediate or transient

            storage of such material except under the following conditions:

                         (1) the transmission of the material was initiated by or at the

                             direction of a person other than Cox;

                         (2) the transmission, routing, provision of connections, or storage is

                             carried out through an automatic technical process without

                             selection of the material by Cox;

                         (3) Cox does not select the recipients of the material except as an

                             automatic response to the request of another person;

                         (4) no copy of the material made by Cox in the course of such

                             intermediate or transient storage is maintained on the system or

                             network in a manner ordinarily accessible to anyone other than

                             anticipated recipients, and no such copy is maintained on the

                             system or network in a manner ordinarily accessible to such

                             anticipated recipients for a longer period than is reasonably

                             necessary for the transmission, routing, or provision of

                             connections; and




                                                             3
DocuSign Envelope ID: D3D46DB4-6839-48F6-A4E6-FAB4AD8BE53D
         Case 1:23-cv-00426-JMS-WRP                Document 29   Filed 11/29/23   Page 4 of 4 PageID.142



                         (5) the material is transmitted through the system or network without

                             modification of its content.



            I declare under penalty of perjury that the foregoing is true and correct.
                           
            Executed on ________________ at Atlanta, Georgia.




                                             Amber Hall




                                                             4
